









Dismissed and Memorandum Opinion filed September 8, 2005









Dismissed and Memorandum Opinion filed September 8,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00549-CR

____________

&nbsp;

CHESTER RAY
SHORTS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
230th District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1021495

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to possession of a controlled
substance, cocaine, with intent to deliver.&nbsp;
In accordance with the terms of a plea bargain agreement with the State,
the trial court sentenced appellant on May 18, 2005, to confinement for eleven
years in the Institutional Division of the Texas Department of Criminal
Justice.&nbsp; Appellant filed a pro se notice
of appeal.&nbsp; Because appellant has no
right to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed September 8, 2005.

Panel consists of Justices Fowler,
Edelman, and Guzman.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





